       Case 2:19-cv-07927-ODW-GJS Document 110-1 Filed 10/03/19 Page 1 of 1 Page ID
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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 SPACE EXPLORATION TECHNOLOGIES CORP.                                   CASE NUMBER
                                                                                              2:19-cv-07927-CAS-GJS
                                                         Plaintiff(s)
                             v.
 USA                                                                     (PROPOSED) ORDER ON APPLICATION OF
                                                                         NON-RESIDENT ATTORNEY TO APPEAR IN
                                                     Defendant(s).           A SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  Hordell, Michael A.                                                             of    Barnes & Thornburg LLP
  Applicant’s Name (Last Name, First Name & Middle Initial                              1717 Pennsylvania Ave., N.W.
  202-371-6348                            202-289-1330                                  Suite 500
  Telephone Number                        Fax Number                                    Washington, D.C. 20006-1313
  Michael.hordell@btlaw.com
                              E-Mail Address                                            Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
  Blue Origin, LLC

  Name(s) of Party(ies) Represent                                 ☐Plaintiff(s) ☐ Defendant(s) ☒ Other:               Defendant/Intervenor
and designating as Local Counsel
  O’Hanlon, Matthew B.                                                             of   Barnes & Thornburg LLP
  Designee’s Name (Last Name, First Name & Middle Initial                               2029 Century Park East
  253648                          310-284-3878                    310-284-3894          Suite 300
   Designee’s Cal. Bar No.         Telephone Number               Fax Number            Los Angeles, CA 90067
  Matthew.O’Hanlon@btlaw.com
                              E-Mail Address                                            Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
  ☐GRANTED
  ☐DENIED:            ☐    for failure to pay the required fee.
                      ☐    for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐    for failure to complete Application:
                      ☐    pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐    pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                           District.
                      ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: Click here to enter a date.
                                                                                 U.S. District Judge/U.S. Magistrate Judge

 G-64 Order (05/16)   (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                Page 1 of 1
